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     San Francisco, CA 94111
 3   (415) 989-7900
 4   Attorneys for Defendant
     VAN HY VI
 5
 6                                UNITED STATES DISTRICT COURT
 7                               EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                            No. 2:07-CR-0059 LKK
 9                                 Plaintiff,
10   v.
11   VAN HY VI,                                           AMENDED STIPULATION AND ORDER
                                                          MODIFYING CONDITIONS OF RELEASE
12                           Defendant.
     _______________________________________/
13
            THE PARTIES HEREBY STIPULATE that following discussions with Sandy Hall of
14
     U.S. Pretrial Services who is in agreement, that the conditions of release shall be modified in the
15
     following manner:
16
17          1.      The restriction prohibiting VAN HY VI from traveling outside the Eastern District
                    of California will be modified to allow him to travel to England on December 24,
18                  2007 and return on January 10, 2008. While in England, he will reside at 42
                    Lingham Street, Stockwell, London, SW 99FH, Great Britain. His contact # is
19                  02077338704. If you were to call international, you would dial 011-44-
                    2077338704.
20
            2.      In order to permit VAN HY VI to travel outside the United States, the United
21                  States Clerk’s Office is instructed to release Mr. Hi Vi’s passport to him on or
                    after December 15, 2007.
22
            3.      Mr. VAN HY VI is ordered to return his passport to the United States Clerk’s
23                  Office on or before the close of business on January 14, 2008.
24   //
25   //
26   //
27   //
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 1         4.      All other conditions of release shall remain in effect unless modified by Order of
                   the Court.
 2
 3
 4
     Dated: 11/2/07                                      Dated: 11/2/07
 5
 6   __________/s/______________________                 ______________/s/___________________
     DOUGLAS L. RAPPAPORT                                MARY GRAD
 7   Attorney for Defendant                              Assistant U.S. Attorney
     VAN HY VI
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 1   U.S. v. VI- CASE #2:07-CR-0059 LKK
 2                               CERTIFICATE OF SERVICE
 3         I, hereby certify under penalty of perjury that on the 2nd day of November 2007, I served
           the AMENDED STIPULATION AND ORDER MODIFYING CONDITIONS OF
 4         RELEASE AND PROPOSED ORDER MODIFYING CONDITIONS OF RELEASE via
           electronic notification through CM/ECF system to Mary Grad -Assistant United States
 5         Attorney, and to all counsel for co-defendants.
 6
                                                ________________________________________
 7                                              VERONICA DAVIS
                                                Assistant to Douglas L. Rappaport
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 1                                          UNITED STATES DISTRICT COURT
 2                                          EASTERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,                                  No. 2:07-CR-0059 LKK
 5                                           Plaintiff,
 6   v.
 7   VAN HY VI
                                                                FIRST AMENDED ORDER MODIFYING
 8                                                              CONDITIONS OF RELEASE
                             Defendant.
 9   _______________________________________/
10             This matter having come before the Court upon Stipulation of the parties and the Court
11   being advised;
12             IT IS ORDERED that the Conditions of Release shall be modified in the following
13   manner:
14             1.         The restriction prohibiting VAN HY VI from traveling outside the Eastern District
                          of California will be modified to allow him to travel to England on December 24,
15                        2007 and return on January 10, 2008. While in England, he will reside at 42
                          Lingham Street, Stockwell, London, SW 99FH, Great Britain. His contact # is
16                        02077338704. If you were to call international, you would dial 011-44-
                          2077338704.
17
               2.         In order to permit VAN HY VI to travel outside the United States, the United
18                         States Clerk’s Office is instructed to release Mr. Hi Vi’s passport to him on or
                           after December 15, 2007.
19
               3.         Mr. VAN HY VI is ordered to return his passport to the United States Clerk’s
20                        Office on or before the close of business on January 14, 2008.
21   DATED: November 6, 2007.
22
23
24
25
26   Ddad1/orders.criminal/vi0059.stipord

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